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                      GLOBALTRANZ ENTERPRISES, LLC
                   11
                   12                                    UNITED STATES DISTRICT COURT
                   13                                    DISTRICT OF ARIZONA, PHOENIX
                   14 Juliana Daklin and Samantha Thaler, on             Case No. 2:21-cv-00204-JJT
                      behalf of themselves and all others
                   15 similarly situated,
                                                                         DEFENDANT GLOBALTRANZ
                   16                      Plaintiffs,                   ENTERPRISES, INC.’S MOTION FOR
                                                                         INJUCTIVE RELIEF PROHIBITING
                   17             vs.                                    PLAINTIFFS’ COUNSEL FROM
                                                                         CONTINUED ILLEGAL
                   18 GlobalTranz Enterprises, LLC,                      SOLICITATIONS AND SANCTIONS
                                                                         RE SAME
                   19                      Defendant.
                   20                                                    (The Honorable John J. Tuchi)
                   21            Pursuant to the Court’s September 27, 2021 Order (Doc. 35) and the authorities set
                   22 forth below, Defendant GlobalTranz Enterprises, LLC (“GTZ”) moves the Court for
                   23 injunctive relief and sanctions against Plaintiffs’ Counsel (“PC”), and each of them, for
                   24 continued improper and unethical conduct despite repeated demands from GTZ to cease the
                   25 same. Specifically, GTZ seeks injunctive relief prohibiting PC from further soliciting
                   26 current and former GTZ personnel to join a non-existent FLSA collective action. Further,
                   27 GTZ seeks sanctions against PC for its improper and unethical solicitations in violation of

LEWIS              28 the Arizona Rules of Professional Conduct. Specifically, GTZ requests the following:
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                    1            1.        That PC be barred from representing any “opt-in” who did not work directly
                    2 with named Plaintiffs Thaler and Daklin in Minneapolis;
                    3            2.        That PC be barred from recovering any fees for any work for any “opt-in” who
                    4 did not work directly with named Plaintiffs Thaler and Daklin in Minneapolis;
                    5            3.        That PC be required to draft and implement a written program about
                    6 solicitation and to train all attorney and non-attorney staff about prohibited solicitation;
                    7            4.        That a copy of any order from this Court, if it finds that PC engaged in
                    8 prohibited solicitation, be forwarded to the State Bar of Arizona for further action; and
                    9            5.        That PC reimburse GTZ for all fees related to resolving this issue, including
                   10 this motion for injunctive relief and previous correspondence regarding same.
                   11            Further, because GTZ suspects that PC improperly obtained a list of GTZ employees
                   12 as well as their personal information—including home addresses—to directly solicit consent
                   13 to join this action, GTZ requests disclosure of this information, the manner by which PC
                   14 obtained it as well as how PC used it to solicit “opt-ins.”
                   15            Finally, as set forth in detail below and in response to the Court’s September 27, 2021
                   16 Order, GTZ respectfully requests a finding that:
                   17            1.        PC’s continued conduct violates well established law governing and
                   18 interpreting collective actions—including holdings by this Court that pre-certification
                   19 solicitation of opt-ins is only permitted after court order;
                   20            2.        PC’s continued conduct violates the Rules of Professional Conduct of the
                   21 Supreme Court of Arizona, specifically Rules 7.1 and 7.3; and
                   22            3.        PC’s continued conduct violates the rules of professional responsibility of the
                   23 other jurisdictions to which PC is admitted (or at least merits notification of this Court’s
                   24 concern), which includes at the very least Minnesota and Maryland.
                   25            This Motion is supported by the following memorandum of points and authorities,
                   26 the attached exhibits, and any other documents or pleadings presently on file before the
                   27 Court.

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                    1                         MEMORANDUM OF POINTS AND AUTHORITIES
                    2 I.         FACTUAL BACKGROUND
                    3            Plaintiff Juliana Daklin was hired by GTZ in September 2018 and Plaintiff Samantha
                    4 Thaler was hired in January 2019; both were employed as Logistics Representatives in
                    5 Minneapolis, Minnesota. (Doc. 1.) In January 2019 and again in January 2020, Daklin and
                    6 Thaler signed binding arbitration agreements that contained collective action waivers.
                    7            On February 8, 2021, Plaintiffs filed their Complaint in this Court in breach of their
                    8 binding agreements to arbitrate FLSA claims.             Plaintiffs breached the agreements by
                    9 attempting to bring a collective action. In response to the Complaint, GTZ moved to compel
                   10 arbitration and stay all proceedings pending results of the arbitrations. (Doc. 24.) Plaintiffs
                   11 did not oppose the motion, but rather agreed to arbitrate and stay the case. On May 19, 2021,
                   12 the Parties filed a stipulation reflecting this agreement (Doc 29), and this Court entered an
                   13 Order granting the stay and arbitration process on May 21, 2021. (Doc 31.)
                   14            Unbeknownst to GTZ at the time, as early as November 3, 2020—and likely earlier—
                   15 PC directly mailed solicitation letters to current and former employees of GTZ at their home
                   16 addresses for the sole purpose of soliciting potential plaintiffs and “opt-ins.” (Exhibit A.)
                   17 Then on or about June 9, 2021, PC continued targeting GTZ personnel by sending additional
                   18 solicitations to them (again, at their home addresses) to join the lawsuit—the same lawsuit
                   19 that this Court stayed weeks before. (Exhibit B.) It is unclear exactly how PC obtained the
                   20 names and addresses of GTZ’s personnel, but GTZ believes that PC wrongfully obtained
                   21 confidential and proprietary information, then used this information to directly solicit GTZ
                   22 personnel to join a collective action that does not exist.
                   23            On July 7, 2021 (upon learning of PC’s direct home solicitation of GTZ employees),
                   24 GTZ contacted PC demanding that they cease and desist from soliciting “opt-ins.” (Exhibit
                   25 C.) PC ignored this request. On September 7, 2021, GTZ again contacted PC requesting
                   26 they cease and desist their improper solicitation efforts. (Exhibit D.) PC again dismissed
                   27 GTZ’s request without citing any controlling authority or legal basis, but instead threatening

LEWIS              28 that PC would seek fees and costs “if GTZ filed such a frivolous motion”. (Id.)
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                    1            To date, PC has signed 22 plaintiffs and “opt-ins”: nine in Arizona, eight in
                    2 Minnesota, three in Utah, and one each in West Virginia and Illinois.
                    3 II.        THIS COURT HAS JURISDICTION TO ADJUDICATE THIS LIMITED
                                 ISSUE
                    4
                    5            This case is not dismissed, it is stayed. The Court retains jurisdiction over this case
                    6 even though it stayed the case to allow arbitration to proceed. In PMS Distrib. Co. v. Huber
                    7 & Suhner, A.G., 863 F.2d 639 (9th Cir. 1988), the Ninth Circuit addressed a different but
                    8 similar issue that is instructive here. In PMS, the Ninth Circuit reviewed whether a district
                    9 court could grant a writ of possession after it had previously ordered the parties to arbitration
                   10 under the Federal Arbitration Act. The Ninth Circuit concluded “that an order to compel
                   11 arbitration does not strip the district court of authority to grant a subsequent writ of
                   12 possession.” Id. at 641 (emphasis added). The Court also stated, “[a] district court’s order
                   13 to arbitrate, with or without a retention of jurisdiction, has an ‘ongoing effect,’ and the parties
                   14 may return to the district court for interpretation or modification of the order.” Id. at 642.
                   15            Twenty-two years after PMS was decided, the Ninth Circuit took up an even more
                   16 analogous issue in Toy Tire Holdings of Ams., Inc. v. Cont’l Tire N. Am., Inc., 609 F.3d 975
                   17 (9th Cir. 2010). There, the Ninth Circuit held that the district court erred when it determined
                   18 that it lacked authority to grant injunctive relief. Id. at 978. In support of its conclusion, the
                   19 Ninth Circuit reasoned,
                   20            The importance of the courts’ ability to issue interim injunctive relief is even
                                 more apparent now than when we decided PMS twenty-two years ago. We
                   21            assume that parties ordinarily choose to arbitrate . . . to lower costs and
                                 increase efficiency and speed. However, arbitration’s promised speed and
                   22            efficiency frequently do not materialize in practice. Moreover, one party to the
                                 arbitration often has an incentive to delay arbitration proceedings to its own
                   23            advantage. . . . Even without bad faith by either party, the selection of
                                 arbitrators and the constitution of the arbitral panel necessarily takes time. . . .
                   24            If Toyo loses its customers before interim relief is possible, any subsequent
                                 relief could be useless. As recognized in PMS, the unavailability of interim
                   25            conservatory measures can frustrate the arbitration process.
                   26 Id. at 980-81.
                   27            Like in Toy Tire Holdings, GTZ seeks immediate injunctive relief to stop PC’s
LEWIS              28 continued solicitation of “opt-ins” to join a non-existent collective action. Plaintiff has not
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                    1 filed a demand for arbitration, and no arbitrators have been selected. The delay in waiting
                    2 for PC to act would only result in further misconduct by PC and further prejudice to GTZ.
                    3 Because the Court is empowered to issue interim injunctive relief and still has jurisdiction
                    4 over this case, this Motion is properly before the Court.
                    5 III.       PRE-CERTIFICATION CONTACT OF POTENTIAL FLSA “OPT-INS” IS
                                 ONLY PERMITTED BY COURT ORDER
                    6
                    7            The FLSA provides no guidance to the courts in dealing with pre-certification contact
                    8 of opt-ins. Consequently, the district courts have relied on cases like Hoffman-LaRoche,
                    9 Inc. v. Sperling, 493 U.S. 165 (1989) and others for guidance. In Sperling, the Supreme
                   10 Court held that in an ADEA action (and thus an FLSA action) 1 a district court has discretion
                   11 to implement notice procedures. Id. at 169-70.
                   12            Adhering to Sperling, the District of Arizona adopted the “two-tiered approach.” See
                   13 Barrera v. US Airways Grp., Inc., No. CV-2012-02278-PHX-BSB, 2013 U.S. Dist. LEXIS
                   14 124624, at 5 (D. Ariz. Aug. 30, 2013), Stickle v. SCI Western Mkt. Support Ctr., 2009 U.S.
                   15 Dist. LEXIS 97735, 8-9 (D. Ariz. Sept. 30, 2009); Hutton v. Bank of Am., 2007 U.S. Dist.
                   16 LEXIS 97516, at 2 (D. Ariz. Mar. 31, 2007).
                   17            Under the “two-tiered approach”, the District Court of Arizona begins with the
                   18 “Notice” stage, which, “[is where] the court determines whether the proposed class members
                   19 are similarly situated employees and therefore should be notified about the pending action.”
                   20 Barrera, 2013 U.S. Dist. LEXIS 124624, at 5-7.
                   21            During the “Notice” stage, if the plaintiff demonstrates that the proposed class
                   22 members are similarly situated, then the court may conditionally certify the class. Id. at 7-
                   23 8. If the court conditionally certifies the class, the court—not plaintiffs’ counsel
                   24 unilaterally—will direct notice to the potential class members to inform them of their right
                   25 to join an FLSA collective action. Id. Court-facilitated notice is intended to ensure that the
                   26
                   27
                       “Section 7(b) of the ADEA incorporates enforcement provisions of the FLSA under 29
                        1

                   28 U.S.C. § 201 et seq.” Sperling, 493 U.S. at 167; 29 U.S.C. § 626(b) (incorporating §216).
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                    1 form, content, and methods of distribution are timely, accurate, neutral, and
                    2 informative. Sperling., 493 U.S. at 171-72 (emphasis added); Arceo v. Orta, 296 F. Supp.
                    3 3d 818, 822-23 (N.D. Tex. 2017); Williams v. Omainsky, No. 15-0123-WS-N, 2016 U.S.
                    4 Dist. LEXIS 7419, at 40 (S.D. Ala. Jan. 21, 2016); Harrison v. DelGuerico's Wrecking &
                    5 Salvage, Inc., 305 F.R.D. 85, 89 (E.D. Pa. 2015). Indeed, the Sperling Court reasoned,
                    6 “[a]lthough the collective form of action is designed to serve the important function of
                    7 preventing [FLSA violations], the potential for misuse of the class device, as by misleading
                    8 communications, may be countered by court-authorized notice.” Sperling, 493 U.S. at 171.
                    9            Likewise, in Bouder v. Prudential Fin., Inc., Civil Action No. 06-CV-4359 (DMC),
                   10 2007 U.S. Dist. LEXIS 83338, (D.N.J. Nov. 8, 2007), the district court dealt with this exact
                   11 issue. In Bouder, plaintiffs’ counsel filed an FLSA collective action and before it filed a
                   12 motion for conditional certification, plaintiffs’ counsel sought permission to send direct mail
                   13 letters to the opt-ins. After full briefing by both sides, the Bouder court prohibited plaintiff’s
                   14 counsel from contacting the opt-ins in this manner, finding that counsel (like PC in this
                   15 action) neither sought nor received permission to proceed as a collective action or to begin
                   16 notice. Id. at 6. The district court also found that the solicitation letters were improper
                   17 because they were “deceptive, misleading, and contain[ed] numerous false statements.” Id.
                   18 Relying on several holdings from across the country, the Bouder court held that courts are
                   19 empowered to preclude counsel from making pre-certification statements to potential opt-
                   20 ins because they are inaccurate, misleading, or present biased assertions as undisputed or
                   21 true. The Bouder court granted the defendant’s motion, ordering plaintiffs counsel to cease
                   22 and desist. Id. at 6-8.
                   23            Unlike PC here, in Bouder, plaintiffs’ counsel had the presence of mind to inform
                   24 defendant’s counsel of its intent and to provide a sample of the notices before such notices
                   25 were sent. Here, PC started covertly soliciting potential “opt-ins” unilaterally: unchecked
                   26 and unauthorized. At no time between filing the Complaint and this Court staying the present
                   27 action did PC engage in the “two-tiered approach.” PC never moved to conditionally certify

LEWIS              28 a collective action, and PC never obtained permission to contact “opt-ins.” Nevertheless,
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                    1 PC has and continues to directly contact GTZ personnel informing them that a collective
                    2 action has been filed against GTZ, soliciting them to join. Furthermore, PC has and
                    3 continues to advertise this action on their firm websites, as well as through ads on
                    4 LinkedIn.com and additional social media outlets (the complete extent of which is currently
                    5 unknown).
                    6            Because no collective action exists and because this Court has not permitted PC to
                    7 issue court-approved notices of the same, PC must be permanently enjoined from contacting
                    8 current or former GTZ personnel about this case directly, via websites or via social media.
                    9            A.        Plaintiffs’ Arbitration Agreements Preclude PC from Providing Notice
                                           of an FLSA Action.
                   10
                   11            Plaintiffs’ Arbitration Agreements waived collective action.         Further, Plaintiffs
                   12 stipulated to arbitrate all claims. Moreover, Plaintiffs did not seek conditional certification
                   13 of a collective action. As such, PC was and is prevented from soliciting “opt-ins.”
                   14            Specifically, in In re JPMorgan Chase & Co., 916 F.3d 494, 501 (5th Cir. 2019), the
                   15 Circuit Court held that plaintiffs could not send notice to employees with a valid arbitration
                   16 agreement unless the record showed that nothing in the agreement prohibited the employee
                   17 from participating in the collective action. The Fifth Circuit found that the lower court erred
                   18 in ordering notice to employees with valid arbitration agreements. Further, the Circuit Court
                   19 stated that the legal issue was "squarely" before the Court and doing so was part of the
                   20 Court's authority to correct "errant caselaw" from district courts in the Circuit. Id. at 504.
                   21 In addressing the issue of notice, the Circuit Court held that if there is no dispute as to the
                   22 existence or validity of an arbitration agreement, “it is error for a district court to order notice
                   23 to be sent to that employee.” Id. at 502-3.
                   24            Here, JP Morgan is instructive. There has been no request for conditional
                   25 certification by Plaintiffs. There is no dispute over the existence or validity of the arbitration
                   26 agreements. Plaintiffs agreed to arbitrate, Plaintiffs also agreed to waive the collective
                   27 action, and Plaintiffs agreed to stay the case pending resolution of the arbitrations. (Doc.

LEWIS              28 29.) On these bases, notice never should have been published or mailed to any potential
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                    1 “opt-ins,” thereby making PC’s solicitations improper ab initio.
                    2            Similarly, in Bigger v. Facebook, Inc., 947 F.3d 1043, 1050 (7th Cir. 2020) 2 the
                    3 Seventh Circuit determined that a court may not authorize notice to individuals with valid
                    4 mutual arbitration agreements waiving their right to join the action. The Bigger Court
                    5 further explained that “notice” presents an opportunity for abuse of the collective action
                    6 process because plaintiffs may improperly expand the litigation to gain settlement leverage
                    7 where a valid arbitration agreement exists, and because allowing notice to those individuals
                    8 has the potential to make notice more about increasing settlement pressure than informing
                    9 potential “opt-ins” about the litigation. Id. at 1049.
                   10            Here, Plaintiffs stipulated to arbitrate all claims and waived collective action.
                   11 Moreover, conditional certification was neither requested nor granted to Plaintiffs. Thus,
                   12 under the law of JP Morgan and Bigger, PC had no right to contact—let alone solicit—any
                   13 of the “opt-ins.” Enjoining PC from any further solicitations and imposing sanctions
                   14 (addressed below) is the only way for this Court to attempt to cure the severe prejudice to
                   15 GTZ caused by PC’s unethical conduct. Therefore, GTZ requests an order enjoining PC
                   16 from contacting any potential “opt-ins,” including current and former employees of GTZ,
                   17 and any advertising of the same on its websites or any other online or social media platforms.
                   18            B.        Fed. R. Civ. P. 83 Further Empowers the Court to Regulate and Restrict
                                           PC’s Improper Solicitation.
                   19
                   20            Rule 83 of the Fed. R. Civ. P empowers the Court “in any case, ‘not provided by
                   21 rule,’ to ‘regulate their practice in any manner not inconsistent with ‘federal or local rules.’”
                   22 Sperling, 493 U.S. at 172. Indeed, the U.S. Supreme Court stated that “Rule 83 endorses
                   23 measures to regulate the actions of the parties to a multiparty suit. This authority is well
                   24 settled, as courts traditionally have exercised considerable authority "to manage their own
                   25
                   26  Although the Ninth Circuit has not yet considered whether FLSA opt-in notice should be
                        2
                      sent to employees who have signed arbitration agreements, a district court in this Circuit
                   27 has followed JP Morgan and Bigger. See Droesch v. Wells Fargo Bank, N.A., No. 20-cv-
                      06751-JSC, 2021 U.S. Dist. LEXIS 125410, at 5-7 (N.D. Cal. July 6, 2021).
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                    1 affairs so as to achieve the orderly and expeditious disposition of cases." Id. at 172-73.
                    2 Moreover, like here, courts have a strong interest “in managing collective actions in an
                    3 orderly fashion” and the Federal Rules of Civil Procedure provide that authority. Id.
                    4            This Court has broad powers to enjoin PC’s continued improper solicitation of “opt-
                    5 ins.” GTZ has been severely prejudiced because Plaintiffs have benefitted from the notice
                    6 procedures of a conditionally certified collective action, when no such action has or will take
                    7 place given the binding arbitration agreements. Indeed, PC would not have signed up
                    8 twenty additional current or former GTZ employees, but for PC’s continued illegal and
                    9 unethical conduct.
                   10 IV.        PC’S DIRECT SOLICITATION LETTERS ARE MISLEADING AND
                                 IMPROPER
                   11
                   12            GTZ is aware of at least two versions of PC’s solicitations letters (although more may
                   13 exist). (Exhibits A and B.) When GTZ received a copy of the June 9, 2021 solicitation letter
                   14 (Exhibit B) from one of its current employees, GTZ immediately demanded that PC cease
                   15 and desist. (Exhibit C.)           Despite GTZ’s repeated requests, PC continues its improper
                   16 conduct.
                   17            Specifically, as GTZ expressly set forth in its correspondence to PC dated July 7,
                   18 2021 and again on September 7, 2021 (Exhibits C and D), PC’s solicitations remain
                   19 improper for the following reasons:
                   20            1.        GTZ denies all liability and no such statement appears in Exhibits A or B.
                   21            2.        The second paragraph of Exhibit B states: “We understand that GlobalTranz
                   22 assigned logistics representatives a heavy workload that required them to work overtime
                   23 hours and paid them a salary with no extra pay for their overtime hours.” GTZ denies this
                   24 allegation. Inclusion of this statement without a denial by GTZ infers this statement is true.
                   25            3.        In paragraph three, Exhibit B states, “We reached an agreement with
                   26 GlobalTranz…” This statement infers that GTZ has in some way approved this notice or
                   27 accepts liability. Neither GTZ nor its counsel approved this letter or the representations

LEWIS              28 made therein. Indeed, PC sought no Court approval before sending these letters.
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                    1            4.        Paragraph three, Exhibit B also states: “representatives who make a claim for
                    2 overtime pay will not be required to go to court, but rather, can go through a less formal
                    3 process called arbitration.” Arbitration is a formal process and all current employees have
                    4 agreed to binding arbitration for FLSA actions. Any “opt-ins” will be deposed, have to
                    5 respond to discovery, and appear for and attend the arbitration hearing until its conclusion.
                    6 The court in Zhongle Chen v. Kicho Corp., No. 18 CV 7413 (PMH) (LMS), 2020 U.S. Dist.
                    7 LEXIS 67935, at *1 (S.D.N.Y. Apr. 17, 2020) required a statement that the plaintiffs may
                    8 be required to appear for deposition or testify at trial. Id. at 39. No such statement exists
                    9 here.
                   10            5.        Exhibit B states: “We are currently working with GlobalTranz to get data to
                   11 calculate the amount of overtime pay potentially owed…” The word “potentially” does not
                   12 change the tone of the letter. It implies GTZ is liable for overtime pay, which it denies. It
                   13 also fails to identify GTZ’s counsel or provide their contact information as was required in
                   14 Chen. Id at 27.
                   15            6.        Exhibit B is overbroad and should be limited by geographic region and time.
                   16 Contacting potential “opt-ins” in states in which no attorneys in which PC’s firm are licensed
                   17 is tantamount to practicing law without a license, especially since there is no collective
                   18 action. PC assumes that if two plaintiffs from Minnesota signed up it can advertise that a
                   19 nationwide collective action has been filed and that anyone ever employed by GTZ should
                   20 join. Unless a court determines that there is a nationwide collective action—which there
                   21 never will be considering the collective action waiver—Plaintiffs claims should be limited
                   22 to Minneapolis, Minnesota. See Hamadou v. Hess Corp., 915 F. Supp. 2d 651, 668
                   23 (S.D.N.Y. 2013). Therefore, by claiming this is a nationwide collective action, it is
                   24 misleading and has prejudiced GTZ. (Exhibit C.)
                   25            Like PC’s improper solicitations, courts throughout the country provide instruction
                   26 as to the parameters of what constitutes misleading communications. Specifically, in Chen,
                   27 2020 U.S. Dist. LEXIS 67935, plaintiffs moved for conditional certification of an FLSA

LEWIS              28 collective action and to obtain permission to issue notice of the action to potential opt-ins.
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                    1 Conditional certification was granted, and the right to issue FLSA notices to current and
                    2 former employees.          However, the Court significantly limited the notice process.
                    3 Specifically, plaintiffs’ counsel was directed to include defendant’s counsel contact
                    4 information, which was missing from the draft notice. Id. at 27. The court also forbade
                    5 plaintiff’s counsel from publishing the opt-in notice on its firm website. Id. at 28. Indeed,
                    6 the court held there was “no reason to believe that posting the opt-in notice on Plaintiff's
                    7 counsel's website would reach potential plaintiffs in a way that mail, text, email, and social
                    8 media messages would not.” Id. The court also denied plaintiffs the right to publish the
                    9 notices on social media pages. Id. at 35-36. Lastly, the court set a 60-day opt-in deadline,
                   10 whereby an opt-in had to choose to join the collective action or be excluded. Id. at 30.
                   11            Similarly, in Hamadou, 915 F. Supp. 2d at 668, the defendants owned and operated
                   12 243 retail gas stations in New York state, including the Queens and Bronx stations where
                   13 named plaintiffs worked. Id. at 654. The court denied conditional certification for a
                   14 statewide collective because plaintiffs failed to establish a statewide policy or practice at
                   15 issue. Id. at 662-64. Additionally, the court found plaintiffs’ FLSA notice was overbroad
                   16 because the notice used the words “and all their gas station locations in New York State.”
                   17 Id. at 668. The court also set a 60-day opt-in period from the date of the notice. Id. at 668-
                   18 69. Finally, the court required the notice to include language informing potential opt-ins
                   19 that their “right to participate in this suit” could be narrowed if the court finds they and the
                   20 plaintiffs are not similarly situated. Id. at 669. See also Reyes v. Quality Logging, Inc., 52
                   21 F. Supp. 3d 849, 849, 52-54 (S.D. Tex. Oct. 10, 2014) (sustaining defendant’s objections
                   22 that the notice failed to inform opt-ins that they did not have to participate, or retain
                   23 plaintiffs’ counsel, but they could contact their own attorney to discuss the case; the court
                   24 ordered plaintiffs’ proposed notice be submitted to the court for in camera review after
                   25 approved edits were made).
                   26            Here, while PC believes that it can indefinitely solicit “opt-ins” with no expiration
                   27 date in sight, PC should not be allowed to solicit anyone, much less ad infinitum. PC had

LEWIS              28 no permission from the Court and they followed no court approved procedures. Indeed,
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                    1 even in Chen, 2020 U.S. Dist. LEXIS 67935 at 30 and Hamadou, 915 F. Supp. 2d at 668-
                    2 69, both courts set 60-day opt-in periods from the date of the notice. As such, even in the
                    3 unlikely event that this Court may be inclined to set a notice period in this case (which it
                    4 should not), such period already expired. Any notification period began (at the latest) on
                    5 PC’s first known solicitation dated November 3, 2020 and expired 60-days thereafter. PC’s
                    6 conduct is improper and they must be enjoined from contacting any potential “opt-ins.”
                    7 V.         PC’S WEBSITES AND OTHER SOCIAL MEDIA ADVERTISING ARE
                                 MISLEADING AND IMPROPER
                    8
                    9            Like Exhibits A and B, PC’s websites advertise the same misleading “opt-in” notice.
                   10 (Exhibit         E.1.)   See   also     https://www.nka.com/cases/employment-cases/globaltranz-
                   11 enterprises.html         and    https://www.nicholllaw.com/blog/globaltranz-overtime-lawsuit/.
                   12 Specifically, on www.nka.com, there are multiple links that allow potential “opt-ins” to join
                   13 this case. It also provides legal advice about topics ranging from statutes of limitations to
                   14 how to prove their claims. Most concerning is PC’s misrepresentation that “Logistics
                   15 Representatives” are a position that GTZ employs all over the country. (Id.) Further, the
                   16 nka.com website misleadingly states “we have since reached an agreement with GTZ that
                   17 Logistics Representatives who make a claim for overtime pay will not be required to go to
                   18 court, but rather, can go through a less formal process called arbitration.” (Id.) There is no
                   19 “agreement” as PC suggest, but rather GTZ is enforcing its binding arbitration agreements.
                   20            Further, under the tab “Additional Information” on the bottom of the main page, PC
                   21 incorrectly informs potential “opt-ins” that anyone who worked for GTZ in any state across
                   22 the country within the past three years can make a claim for unpaid overtime.” (Exhibit E.2)
                   23 This is grossly misleading. As stated herein, only the Court may determine if a nationwide
                   24 collective action will proceed. Further, Plaintiffs waived that right by agreeing to arbitrate
                   25 their claims. Additionally, PC is soliciting “opt-ins” in states where they are not admitted
                   26 to practice law and where no active case is pending, for example in North Carolina and West
                   27 Virginia where PC mailed solicitation letters. (Exhibits A and B.) While it remains unclear

LEWIS              28 when PC published this information on its website, there exists no dispute that they never
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                    1 sought the Court’s approval to publish it, let alone review the content. See Chen, 2020 U.S.
                    2 Dist. LEXIS 67935, at 28.
                    3            Likewise, since at least February 16, 2021, www.nicholllaw.com also advertised its
                    4 FLSA suit against GTZ. (Exhibit F.1.) See https://www.nicholllaw.com/blog/globaltranz-
                    5 overtime-lawsuit/). Like www.nka.com, this site contains misleading information because
                    6 it states that counsel is looking for employees who worked for GTZ at any point in the last
                    7 three years. Id. An FLSA claim has a two-year statutory period, not three. See 29 U.S.C.
                    8 § 255; Wertheim v. Arizona, No. CIV 92-453 PHX RCB, 1993 U.S. Dist. LEXIS 21292, at
                    9 12 (D. Ariz. Sep. 28, 1993). Accordingly, this statement is misleading.
                   10            Clicking the link “Industries That Often Violate Laws on Overtime Pay for Workers”
                   11 takes you to a page that misleadingly informs potential “opt-ins” that various industries or
                   12 positions are “often” liable for denying overtime. (Exhibit F.2.) This is not just puffery or
                   13 opinion, but rather PC’s website is offered as legal advice or, at a minimum, as undisputed
                   14 fact, which it is not. Further, clicking the blue hyperlinked words “click here,” at the bottom
                   15 of the main page takes an “opt-in” to a DocuSign page where the individual signs up to
                   16 become a firm client, without informing potential “opt-ins” that they do not have to retain
                   17 these attorneys. (Exhibits F.1 and F.3.)
                   18            Lastly, on September 3, 2021, counsel for GTZ discovered a Nichols Kaster
                   19 advertisement on LinkedIn.com wherein PC was soliciting “opt-ins” to join this case.
                   20 (Exhibit G is a screen shot taken by Andrew Kleiner, counsel of record for GTZ, showing
                   21 this advertisement.) Exhibit G establishes yet another example of PC’s continued improper
                   22 and misleading solicitations on websites and social media. These advertisements and
                   23 solicitations are improper and must be enjoined.
                   24 VI.        PC’S CONDUCT VIOLATES THE RULES OF PROFESSIONAL
                                 CONDUCT OF THE SUPREME COURT OF ARIZONA
                   25
                   26            As the Court noted in its Order permitting this Motion (Doc. 35), any attorney
                   27 appearing in this action—whether licensed or via pro hac vice—is bound and governed by

LEWIS              28 the Rules of Professional Conduct of the Supreme Court of Arizona. Based on information
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                    1 and belief, each of the following are counsel of record for Plaintiffs and are admitted to
                    2 practice law in the following jurisdictions:
                    3            NICHOLS KASTER, PLLP
                                 David E. Schlesinger, AZ Bar No. 025224, MN Bar No. 0387009
                    4            Rachhana T. Srey, MN Bar NO. 340133 (AZ admitted pro hac vice)
                                 Michell Fisher, MN Bar No. 303069, (AZ admitted pro hac vice)
                    5            Kayla Kienzle, MN Bar No. 0399975 (AZ admitted pro hac vice)
                    6            THE LAW OFFICES OF PETER T NICHOLL
                                 Benjamin L. Davis, MD Bar No. 29774 (AZ admitted pro hac vice)
                    7
                    8            A.        PC Solicited “Opt-Ins” in Violation of Rule 7.3.
                    9            PC’s communications with potential “opt-ins” constitute solicitations and violate ER
                   10 7.3. Under ER 7.3(a), solicitation occurs when:
                   11            A communication initiated by or on behalf of a lawyer or firm that is directed
                                 to a specific person the lawyer knows or reasonably should know needs legal
                   12            services in a particular matter and that offers to provide, or reasonably can be
                                 understood as offering to provide, legal services for that matter.
                   13
                   14 Here, Exhibits A and B alone (in addition to PC’s websites and social media solicitations)
                   15 were directed to specific current or former employees of GTZ. PC knew or believed these
                   16 persons needed legal counsel because the letter states “we understand that you are or were
                   17 employed by GlobalTranz . . . and we believe that GTZ may have violated the [FLSA] by
                   18 not paying . . . overtime. . . .” (Exhibit B.) PC’s purpose in sending Exhibits A and B was
                   19 to solicit legal representation and to invite the “opt-ins” to make a claim by simply going to
                   20 a website or scanning a QR code with their phone. Id. Accordingly, the solicitation letters
                   21 (as well as websites and social media posts) offer legal services to the prospective “opt-ins.”
                   22            Because PC so blatantly and repeatedly violated ER 7.3, the only appropriate
                   23 consequence is severe sanctions, like those handed down by the courts in Hamm v. TBC
                   24 Corp., 597 F. Supp. 2d 1338, 1352-53 (S.D. Fla. 2008), affirmed 345 Fed. Appx. 406 (11th
                   25 Cir. 2009). In Hamm v. TBC Corp., 345 Fed. Appx. 406 (11th Cir. 2009), the Eleventh
                   26 Circuit reviewed a Magistrate and District Court’s imposition of sanctions against PC for
                   27 improperly soliciting potential opt-ins in an FLSA case. Each of the five sanctions handed

LEWIS              28 down by the Magistrate/District Court were upheld on appeal. The approved sanctions were:
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                    1 (1) barring plaintiff’s counsel from representing any current opt-in, who did not work with
                    2 any of the named Plaintiffs in the action; (2) barring plaintiff’s counsel from recovering any
                    3 fees or costs for work performed in representing any individual who did not work with the
                    4 named plaintiffs; (3) ordering plaintiff’s counsel to formulate and implement a written policy
                    5 on solicitation and train all attorney and non-attorney staff at the firm; (4) providing a copy
                    6 of the Report and Recommendation and any Order adopting it be forwarded to the Florida
                    7 Bar for possible future action; and (5) ordering plaintiff’s counsel to reimburse defendants
                    8 for all reasonable fees and costs incurred in bringing and prosecuting defendant’s motion for
                    9 sanctions. Id. at 409.
                   10            Here, as evidenced by verbiage soliciting potential plaintiffs “across the country” on
                   11 PCs’ websites as well as the letters sent by PC to West Virginia and North Carolina, PC
                   12 likely sent hundreds of letters to GTZ employees across the country (the extent of which
                   13 cannot be uncovered fully without this Court’s intervention) in hopes of signing them up to
                   14 a lawsuit that was stayed by this Court. (Exhibits A and B.) Specifically, while Plaintiffs
                   15 Daklin and Thaler were employed by GTZ in Minneapolis, Minnesota (Doc 1), PC signed
                   16 up 20 additional “opt-ins” from locations across the country including Arizona (9), West
                   17 Virginia (1), Utah (3), Minnesota (6), and Illinois (1). Despite this, Nichols Kaster only has
                   18 offices in Minneapolis and San Francisco, and the Law Offices of Peter T. Nicholl are only
                   19 located in Maryland and Virginia.
                   20            This unethical behavior cannot be condoned and sanctions—exactly like those
                   21 handed down in Hamm—are the only appropriate response. Accordingly, GTZ requests the
                   22 following sanctions against PC, and each of them:
                   23            1.        That PC be barred from representing any “opt-in” who did not work directly
                   24 with named Plaintiffs Thaler and Daklin in Minneapolis;
                   25            2.        That PC be barred from recovering any fees for any work for any “opt-in” who
                   26 did not work directly with named Plaintiffs Thaler and Daklin in Minneapolis;
                   27            3.        That PC be required to draft a written policy about solicitation and implement

LEWIS              28 and train all attorney and non-attorney staff about prohibited solicitation;
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                    1            4.        That a copy of any order from this Court, if it finds that PC engaged in
                    2 prohibited solicitation, be forwarded to the State Bar of Arizona for further action;
                    3            5.        That PC reimburse GTZ for all fees related to resolving this issue with
                    4 Plaintiffs, including this Motion as well as previous cease-and-desist correspondence; and
                    5            6.        That PC disclose the source and content of the names and addresses of current
                    6 and former employees of GTZ that it solicited.
                    7            B.        PC’s Solicitations Are Misleading in Violation of ER 7.1.
                    8            ER 7.1 states: “A lawyer shall not make a false or misleading communication about
                    9 the lawyer or the lawyer’s services. (a) A communication is false or misleading if it contains
                   10 material misrepresentations of fact or law, or omits a fact necessary to make the statement
                   11 considered as a whole not materially misleading.” While there appears to be no Arizona
                   12 caselaw specifically addressing ER 7.1 in this context, there are numerous cases across the
                   13 country finding that solicitations, such as those used by PC here, constitute improper, false
                   14 and misleading communications. See Hamm, 597 F. Supp. 2d at 1352 (finding that a law
                   15 firm who engaged in pre-certification telephone contacts with potential class members to
                   16 solicit them to join in an FLSA case violated the applicable solicitation rule), affirmed 345
                   17 Fed. Appx. 406 (11th Cir. 2009); Self v. TPUSA, Inc., 2008 U.S. Dist. LEXIS 71341, at 7-
                   18 15 (D. Utah Sept. 19, 2008) (requiring modification of certain misleading statements made
                   19 on a website to attract potential class members in an FLSA action); Alaniz v. Sam Kane Beef
                   20 Processors, 2007 U.S. Dist. LEXIS 89161, at 3-4 (S.D. Tex. Dec. 4, 2007) (issuing a
                   21 temporary restraining order against plaintiffs for overbroad and misleading flyers, radio
                   22 announcements, and billboards in a FLSA case); Bouder, 2007 U.S. Dist. LEXIS 83338, at
                   23 6-7 (holding that a letter sent to potential opt-ins was improper solicitation as it was
                   24 deceptive, misleading, and contained numerous false statements).
                   25            Like the foregoing authorities, PC continues to engage in misleading and unethical
                   26 solicitation in violation of the Arizona Rules of Professional Conduct. Accordingly, GTZ
                   27 requests that PC, and each of them, be enjoined from any further solicitation actions in this

LEWIS              28 case and that their conduct be reported to the State Bar of Arizona for further action.
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                    1            C.        Minnesota and Marylands’ Rules of Professional Conduct Generally
                                           Mirror Arizona’s Rules of Professional Conduct.
                    2
                    3            The Minnesota and Maryland Rules of Professional Conduct are similar to those in
                    4 Arizona. Specifically, Minn. R. Prof. Conduct 7.1 states, “A lawyer shall not make a false
                    5 or misleading communication about the lawyer or the lawyer’s services. A communication
                    6 is false or misleading if it contains a material misrepresentation of fact or law, or omits a
                    7 fact necessary to make the statement considered as a whole not materially misleading.”
                    8 Maryland’s Rules of Professional Conduct are no different. See Md. Rule 19-307.1
                    9            In both Minnesota and Maryland, although attorneys may advertise to the general
                   10 public, there are limits on solicitation. See Minn. R. Prof. Conduct 7.3 (generally permitting,
                   11 but prohibiting false or misleading communications); Md. Rule 19-307.3 (generally
                   12 restricting in-person or live solicitation). Even though Ariz. Rules of Prof’l Conduct R. 7.3
                   13 applies to all communications, and Minnesota and Maryland rules do not, Minnesota and
                   14 Maryland attorneys “have a responsibility to avoid ‘stirring up’ of litigation through
                   15 unwarranted solicitation.” Severtson v. Phillips Beverage Co., 1991 U.S. Dist. LEXIS
                   16 10561, at 8 (D. Minn. 1991); see also D'Anna v. M/A-COM, Inc., 903 F. Supp. 889, 891 (D.
                   17 Md. 1995) (citing to and following Severtson v. Phillips Beverage Co.).
                   18            The Minnesota and Maryland Rules of Professional Conduct generally mirror the
                   19 Professional Rules of Arizona. Furthermore, PC’s filed their action in Arizona and sought
                   20 pro hac vice admission in Arizona. They are bound by all such Rules, dictating that PCs’
                   21 conduct was improper and unethical.
                   22 VII.       CONCLUSION
                   23            For the foregoing reasons, GTZ respectfully requests that the Court grant its Motion
                   24 for Injunctive Relief and Sanctions against PC for their improper, unethical and continued
                   25 solicitations of “opt-ins.”
                   26 . . .
                   27 . . .

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                   1             DATED this 1st day of October, 2021.
                   2                                          LEWIS BRISBOIS BISGAARD & SMITH LLP
                   3
                   4
                                                              By:           s/ Julie E. Maurer
                   5                                                        Julie E. Maurer
                   6                                                        Andrew B. Kleiner
                                                                            Jack E. Jimenez
                   7                                                        Attorneys for Defendant
                                                                            GLOBALTRANZ ENTERPRISES,
                   8
                                                                            LLC
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                    1                                  CERTIFICATE OF SERVICE
                    2
                    3            I hereby certify that on October 1, 2021 I electronically transmitted the foregoing to
                    4 the Clerk’s office using the Court’s CM/ECF system, to the following CM/ECF registrants
                    5 and thereby served all counsel of record in this matter.
                    6
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                    7 Rachhana T. Srey, Esq.                            The Law Offices of Peter T. Nicholl
                      Kayla Kienzle                                     36 South Charles Street, Suite 1700
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